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United States Court of Appeals c | LED

for the Hitth Circuit
DEC ~6 2023

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No. 23-50885 WESTERN DISTRICT OF ne I
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UNITED STATES OF AMERICA; OCA-GREATER HOUSTON,
LEAGUE OF WOMEN VOTERS OF TEXAS; REVUP-TEXAS,

Plaintiffs—Appellees,
versus

KEN Paxton, Attorney General, State of Texas; JANE NELSON, in her
official capacity as Texas Secretary of State, STATE OF TEXAS; HARRIS
CouNTY REPUBLICAN PARTY; DALLAS COUNTY REPUBLICAN
Party; NATIONAL REPUBLICAN SENATORIAL COMMITTEE;
NATIONAL REPUBLICAN CONGRESSIONAL COMMITTEE,

Defendants— Appellants,
REPUBLICAN NATIONAL COMMITTEE,

Movant—Appellant.

Appeal from the United States District Court
for the Western District of Texas
USDC No. 5:21-CV-844 -

ED ER

Before CLEMENT, ENGELHARDT, and OLDHAM, Circuit Judges.
PER CURIAM:

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No. 23-50885

IT IS ORDERED that Appellants’ opposed motion for a temporary
administrative stay is GRANTED. Appellees shall file a response to the
emergency motion to stay the District Court’s order and for a permanent in-

junction pending appeal no later than 9:00 a.m. on Monday, December 11,

2023. Appellants shall file a reply no Jater than noon on Tuesday, Decem-
ber 12, 2023.

